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 1                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
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 3                                      )
     SPARTA INSURANCE COMPANY           )
 4   (As successor in interest to       )
     Sparta Insurance                   )
 5   Holdings, Inc.),                   ) Civil Action
                        Plaintiff       )
 6   vs.                                ) Number 21-11205-FDS
                                        )
 7   PENNSYLVANIA GENERAL INSURANCE     )
     COMPANY (now known as              )
 8   Pennsylvania Insurance             )
     Company),                          )
 9                      Defendant       )
                                        )
10                                      )

11

12   BEFORE:   CHIEF JUDGE F. DENNIS SAYLOR

13
                              MOTION HEARING
14

15             John Joseph Moakley United States Courthouse
                             Courtroom No. 10
16                           1 Courthouse Way
                             Boston, MA 02210
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18                           NOVEMBER 2, 2022
                                4:00 p.m.
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        1                               PROCEEDINGS

        2             THE CLERK:    Court is now in session in the matter

        3    of Sparta Insurance Company vs. Pennsylvania General

        4    Insurance Company, Civil Action Number 21-11205.

        5             Participants are reminded that photographing,

        6    recording or rebroadcasting of this hearing is prohibited

        7    and may result in sanctions.

        8             Would counsel please identify themselves for the

        9    record, starting with the plaintiff.

03:50PM 10            MR. CARROLL:   Your Honor, James Carroll together

       11    with Christopher Clark and Catherine Fisher for plaintiff.

       12             THE COURT:    Good afternoon.

       13             MR. KAPLAN:    Good afternoon, your Honor,

       14    Sam Kaplan with my colleagues, Erika Nyborg-Burch, Jack Dew,

       15    and Victoria Scordato for the defendant.

       16             THE COURT:    All right.   Good afternoon.

       17    Mr. Kaplan, I think you were the one who had asked to move

       18    this hearing.   I probably grant 99 percent of those

       19    requests, and the only reason I didn't here is I'm about to

04:02PM 20   leave the country for a couple of weeks, and we have

       21    Thanksgiving, and I've got a difficult December schedule,

       22    and I just needed to make this happen, so I appreciate your

       23    patience, what I'm sure is not an ideal circumstance for

       24    you.

       25             We have two cross-motions for judgment on the
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        1    pleadings.   I'm not sure what's logical, but, Mr. Carroll, I

        2    think you filed your first, so I'll hear from you first.

        3               MR. CARROLL:   Thank you, your Honor, and thank you

        4    for properly scheduling this.    And our regrets to

        5    Mr. Kaplan, I know it's inconvenient, but I appreciate

        6    everyone getting on.

        7               The motion, your Honor, is ripe for this time and

        8    decision, and putting aside the argument that I think can be

        9    quickly dealt with respect to any ambiguity, the heart of

04:03PM 10   the matter, I think, isn't any contention by PGIC that it

       11    never assumed the AEIC obligations but, rather, as I

       12    understand it, that it off-loaded those obligations and

       13    became no longer liable to Sparta as a result of the 2012

       14    agreement that it entered, a bilateral agreement with

       15    OneBeacon.   And Sparta, of course, was not a party to that

       16    agreement.

       17               The agreements that we bring the claim under, the

       18    2007 and 2005 agreement effectively incorporated therein

       19    provided means by which if PGIC wished to get out from under

04:04PM 20   its promises to Sparta that it undertook in 2007, it could

       21    seek to do so, and the parties -- and this is a very

       22    sophisticated contract entered into by sophisticated parties

       23    with counsel in 2007 -- that contract envisions ways you can

       24    do that.

       25               It envisions that the parties could have an
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        1    assignment, that PGIC might have an assignment of its

        2    obligations to someone else, but if it wanted to do that, it

        3    would have required the prior written consent of Sparta,

        4    which, of course, it did not obtain.

        5               Similarly, the contract provides that if there's

        6    going to be an amendment or if there's going to be some sort

        7    of waiver under the contract, those are means by which PGIC

        8    could escape its promises, but those, too, pursuant to the

        9    expressed terms of the agreement require the prior written

04:05PM 10   consent.

       11               So, effectively, what it boils down to, I believe,

       12    your Honor, is whether there are some sort of affirmative

       13    defenses asserted here, and, respectfully, I don't think we

       14    ignore them.   What we're arguing is that they do not legally

       15    matter that could permit PGIC to get out from under the

       16    obligations it undertook in 2007.

       17               So what do we have in that regard?   To PGIC's

       18    credit, PGIC isn't arguing, nor could it, that, well, we

       19    need discovery because we're going to stumble upon some

04:05PM 20   prior written consent.   That certainly isn't what's going on

       21    here, nor are they saying, nor would they say, that some

       22    human being would raise their hand and swear that there was

       23    somehow an oral consent.   If that even mattered, the

       24    agreement would say that it does not.

       25               Written consent is required, that's what the
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        1    parties agreed to.   As I understand it, what the thrust of

        2    the argument is is that somehow by conduct, by conduct

        3    subsequent to 2012, Sparta somehow relinquished its rights

        4    as against PGIC by continuing to do what PGIC argues that it

        5    did before 2012, and that is hand over the claims to

        6    OneBeacon so that they can be administered and paid as they

        7    come in, which, indeed, seems to have been the case

        8    happening since 2007 consistent with the parties'

        9    agreements.

04:06PM 10            And as I understand the argument, the fact of the

       11    continuing to do so should be interpreted legally as some

       12    sort of implied novation or implied consent or implied

       13    amendments to the contract.

       14             And using the words that Judge Stearns used in the

       15    HSBC case, the contract itself eviscerates that notion, just

       16    as it eviscerates the notion that you can have an amendment

       17    without prior written contract, it eviscerates this notion

       18    that the conduct that PGIC points to could possibly suffice

       19    to allow it to escape its obligations, and here's why, your

04:07PM 20   Honor:

       21             The stock purchase agreement, and I emphasize this

       22    because we didn't give it great emphasis in the papers,

       23    Section 11.2C of the stock purchase agreement provides that

       24    the obligations under the agreement were enforceable as

       25    against PGIC or OneBeacon.
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        1             OneBeacon was a party to that 2007 agreement.

        2    They were the guarantor, but under Section 11.2C, OneBeacon

        3    was subject to enforcement of all the obligations under that

        4    agreement just as PGIC was.

        5             So the discovery PGIC says it wants to develop,

        6    what would that show?   Well, presumably they hope it will

        7    show that Sparta continued to submit those claims to

        8    OneBeacon after being on notice in 2012 or whenever that

        9    might have been and that something should have been done.

04:08PM 10            That makes no sense under the contract because

       11    Sparta was at all times able to and apparently did submit

       12    the claims to OneBeacon, and they were paid and paid and

       13    paid until 2021.   Nothing changed in that regard from

       14    Sparta's point of view.

       15             Nothing in that course of conduct could possibly

       16    be read to waive any rights about PGIC.   If PGIC wanted out

       17    from under, presumably they could have come and bargained

       18    for it, I imagine would have had to pay for it and would

       19    have had an amendment or agreed upon assignment.   The course

04:09PM 20   of assignment is consistently with the contract as it exists

       21    in 2007, and even in PGIC's wildest dreams of what the

       22    discovery might say, it doesn't provide a legal basis to get

       23    out from under the obligations.

       24             So to with respect to arguments about statute of

       25    limitations, for example, there's 28 purported affirmative
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        1    defenses thrown up against the wall.    They don't have legal

        2    merit, even if you had all the discovery you would want,

        3    statute of limitations, for example.

        4                Two levels to that argument, your Honor:

        5                The first is the present dispute we have between

        6    Sparta and PGIC.    That arose just in 2021, and the record

        7    before your Honor is clear.    Sparta all of a sudden is faced

        8    with these claims that were previously being handled and

        9    paid for.    They're not being paid for, they go to PGIC and

04:09PM 10   said, hey, 2007 agreement, pay them.    That doesn't happen,

       11    the suit promptly follows.

       12                With respect to arguments that might be made, and

       13    there was some filing late this afternoon about statute of

       14    limitations with respect to underlying claims, the

       15    underlying policyholder claims, well, those obligations

       16    belong to PGIC.    In the 2005 agreement incorporating the

       17    2007, it is PGIC that undertook to administer those claims,

       18    to process those claims, and to pay those claims.

       19                If PGIC is of the view that there's some claims

04:10PM 20   there that shouldn't be paid because of statute of

       21    limitations issues, it is on PGIC to take that up with the

       22    claimant and sort that out as the claims administrator.

       23                That certainly isn't a Sparta responsibility.

       24    That's what Sparta paid millions and millions of dollars for

       25    in 2007.    All of these asserted -- all of these asserted
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        1    implied-by-conduct purported affirmative defenses can't

        2    operate to eviscerate the contract.     It's similar to the

        3    ruling that Judge Stearns had that I mentioned, you can't

        4    simply say, well, wait a second, I've got an affirmative

        5    defense that is foreclosed by the expressed agreed upon

        6    terms of the contract, the law that the parties agreed to

        7    live by and avoid a judgment of the pleadings.

        8              That's effectively the crux of the dispute as we

        9    understand it, your Honor.    I don't understand PGIC, perhaps

04:11PM 10   I'll be corrected, to be saying they never had the

       11    liabilities.   The question is can we get out from under them

       12    and how the contract forecloses simply saying, well, you

       13    know, maybe there's some implied by conduct excuse.

       14              This is exactly why parties go to the extent of

       15    negotiating and paying people to put in place these very

       16    elaborate contracts in the first place.     That's the thrust

       17    of the motion.    It's decidable as a matter of law on the

       18    papers before your Honor, and we would respectfully urge

       19    that you do so.

04:11PM 20             THE COURT:    All right.   Mr. Kaplan.

       21              MR. KAPLAN:   Thank you, your Honor.     The simplest

       22    basis for resolving this motion is that we have 28

       23    affirmative defenses.    They filed a motion for judgment on

       24    the pleadings, and pleadings is plural, of course, in such a

       25    motion.   It's got to address the answer, it's got to address
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        1    the affirmative defenses, and their motion does not address

        2    the affirmative defenses, the substance of them at all, not

        3    a substance of a single one.

        4             They threw a few arguments in in their reply, and

        5    they said, well, we're just responding to you pointing out

        6    that you have affirmative defenses.   That's not the way it

        7    works, your Honor.   It's like saying we filed a motion for

        8    12(b)(6) and because some court somewhere has granted a

        9    12(b)(6) motion, that we don't have to address your

04:12PM 10   underlying claims in our 12(b)(6) motion.   So that is one

       11    just sort of basic point, your Honor.

       12             And now, of course, in the end, if they have good

       13    arguments, they're going to be addressed at some point, so

       14    the first point is largely a procedural one.

       15             And after this argument, if the Court has any

       16    doubt as to whether this can be resolved on the pleadings,

       17    we would request at a minimum the ability to reply a

       18    sur-reply because the bottom line is we've never had a

       19    chance to respond to their actual arguments on the

04:13PM 20   affirmative defenses, but, your Honor, I don't think --

       21    there's so little basis for their motion, even taking into

       22    account the arguments they raise for the first time in reply

       23    that I don't know whether that will be -- it's my hope that

       24    won't be necessary, and, in any event, this hearing is

       25    valuable because your Honor has understandably given the
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        1    cryptic nature of their complaint, it's very difficult to

        2    know what this case is actually about, and I think it is

        3    important that the court understand what it's about and that

        4    it -- and that it understands the basic foundation of the

        5    case.

        6             And what Mr. Carroll said at the start, I

        7    partially agree with at least where we are at in this case

        8    in the sense that my focus and my presentation is going to

        9    be on the subsequent conduct and less on the interpretation

04:14PM 10   of the agreements, not because we agree with their

       11    interpretation of the agreements, and I'll explain at the

       12    end why we do not but because the interpretation of the

       13    agreements cannot I don't think resolve the case entirely,

       14    and what will ultimately resolve the case entirely is some

       15    things related to our affirmative defenses.

       16             Would it be permissible, your Honor, if I have one

       17    slide that I think -- the relationship between the

       18    corporations here is a little complicated, and I think a

       19    slide will help orient things.    Would it be permissible for

04:15PM 20   me to share my screen?

       21             THE COURT:    Yes.

       22             MR. KAPLAN:     Thank you, your Honor.   Mr. Carroll's

       23    comment about his own technological ability applies to me as

       24    well, so just bear with me just one moment.

       25             THE COURT:    You're triggering my PTSD from when I
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        1    was in private practice and my corporate partners would say

        2    well, corporate structure is complex, and then the next

        3    thing you're looking at this mass of LLCs and Liechtenstein,

        4    Gesellschafts, and who knows what, and trying to sort it all

        5    out, Panamanian corporations.

        6             MR. KAPLAN:   Yes.   Hopefully that will have set

        7    such a traumatic bar that we will fall well below it, your

        8    Honor, and I think we probably will.

        9             THE COURT:    As long as it's all rectangles, I can

04:16PM 10   handle it with no triangles and octagons.

       11             MR. KAPLAN:   All right.   So we started out -- oh,

       12    I'm sorry, I did the wrong thing there.   So we start out

       13    with OneBeacon Insurance Group, Pennsylvania General

       14    Insurance Company and OneBeacon Insurance Company as

       15    subsidiaries of OneBeacon Insurance Group.

       16             Now, even before the SPA with the knowledge of

       17    Sparta, PGIC had already ceded all of their liabilities to

       18    OneBeacon Insurance Company under an intercompany pooling

       19    agreement, so this goes to the point, your Honor, that

04:16PM 20   OneBeacon -- that we will be talking about a few times as we

       21    proceed through this, that OneBeacon Insurance Company was

       22    always the real party in interest here and everybody knew

       23    it.

       24             The reason that PGIC was involved is that they

       25    happened to be the parent of AEIC, but all of these
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        1    companies had the same corporate officials signing the

        2    documents.   In fact, these agreements had the same corporate

        3    officials signing the agreements to both parties to these

        4    agreements, or at least some of them.

        5             And here we go, we have AEIC as subsidiary, sorry,

        6    hold on one second, a subsidiary of PGIC.

        7             Now, in with the SPA, 2007, AEIC is sold off, this

        8    is under the -- as a clean shell to Sparta.   OneBeacon

        9    Insurance Company, and, again, this goes to the point that

04:18PM 10   they were always the real party in interest is made the

       11    guarantor, and PGIC is the seller, and they have -- and they

       12    are a party to the contract, and they have obligations under

       13    the contract.

       14             Now, those obligations, and this is one thing that

       15    was not quite correct that Mr. Carroll said, he's right that

       16    there's no written modification clause to the SPA, but the

       17    obligations that they're asserting here are under the

       18    transfer and assumption agreement from 2005, and the

       19    indemnification that comes in the stock purchase agreement

04:18PM 20   is premised on alleged breaches of the 2005 agreement, and

       21    that does not have a no written modification clause, so we

       22    proceed from there to the fact that the -- so Sparta now has

       23    AEIC as a clean shell, but part of the issue with the clean

       24    shell is that they still, when there's no novation, and

       25    there was no novation here with the policyholders, the
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        1    policyholders still have a direct relationship with Sparta

        2    such that if the person responsible for the liabilities goes

        3    broke, which is the only reason we're here, your Honor, is

        4    because this company, OneBeacon, later Bedivere, when into

        5    liquidation.   That's the only reason anyone is here.

        6             But the AEIC policyholders still have a direct

        7    relation with AEIC.   And then under the stock purchase

        8    agreement, your Honor, it's noteworthy that notices under

        9    the stock purchase agreement were to go only to OneBeacon

04:19PM 10   and not to PGIC.

       11             There's no provision for notification to PGIC.

       12    Now, of course, it's the same corporate officials, and so

       13    notification to one corporate official is going to be

       14    notification to all corporate officials so long as they are

       15    members of the same corporate family.

       16             But, nonetheless, as an illustration of the fact

       17    that OneBeacon is the real party in interest here, the

       18    notices were supposed to go to them even under the stock

       19    purchase agreement, and they were the guarantor.

04:20PM 20            So then we go to what happened next in 2012, and

       21    then at that point, the PGIC, all of PGIC's liabilities are

       22    assumed by OneBeacon Insurance Company.   Oh, I apologize

       23    your Honor, one fact that I left out is that I mentioned

       24    early in this that the liabilities, all of PGIC's

       25    liabilities, were ceded under the intercompany pooling
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        1    agreement to OneBeacon, even prior to transaction with

        2    Sparta.

        3              That, the one thing I left out is that Sparta knew

        4    about that, and the reason we know they knew about that is

        5    because of some third-party discovery that we've already

        6    conducted or actually I should just say public records

        7    request that show that they submitted a filing to get the

        8    guarantor agreement approved, and the Massachusetts

        9    regulator essentially said, well, this isn't going to change

04:21PM 10   anything because OneBeacon already is responsible for all of

       11    PGIC's liabilities.

       12              All right.   So then 2012, you have all of those

       13    liabilities, PGIC's liabilities were assumed by OneBeacon

       14    Insurance Company and PGIC was sold off as a clean shell to

       15    North American Casualty Company.   OneBeacon assumed all of

       16    PGIC's liabilities.

       17              And now PGIC, like AEIC, still had the direct

       18    relationship with policyholders, PGIC policyholders, so, for

       19    example, PGIC also has -- is left holding the bag to a

04:22PM 20   certain extent by Bedivere's liquidation because they owe to

       21    PGIC policyholders potentially, and PGIC policyholders will

       22    contact them, and, again, the notices under the North

       23    American Casualty Company purchase of PGIC go to OneBeacon

       24    Insurance Company.

       25              So, again, the point is that OneBeacon Insurance
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        1    Company is really, is the repository of the liability here.

        2    That was always understood to be the case.   Then you have

        3    the fact --

        4             THE COURT:    Let me ask you, if it was always

        5    understood, why wasn't it put in the contract, in other

        6    words, if it's an underlying premise?

        7             MR. KAPLAN:   Because if your Honor, for example,

        8    PGIC had always stayed within the corporate family, the

        9    OneBeacon Insurance Group corporate family, then the

04:23PM 10   contract would have provided that if theoretically they

       11    wanted to go after PGIC instead of OneBeacon Insurance

       12    Company, then, sure, you know, they would have had the right

       13    under the contract to do that, but as a practical matter,

       14    that was never going to happen because everybody knew.

       15             Our point about what happened before, your Honor,

       16    is that it informs what happened next that there was never,

       17    there was no intent ever that PGIC sold off as a clean shell

       18    to a company, who, by the way, your Honor, this is something

       19    that defendant said they found, plaintiff said they found

04:24PM 20   puzzling that we say that we had no knowledge of the stock

       21    purchase agreement, but that happens to be true because when

       22    North American Casualty was sold, PGIC by OneBeacon

       23    Insurance Group, they weren't even told about the stock

       24    purchase agreement.

       25             In fact, we didn't learn -- we didn't even learn
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        1    of the agreement until we were contacted in 2021.

        2             And so then there's the next thing, your Honor,

        3    there's the fact that -- so, again, your Honor, back to your

        4    Honor's question, the point is that the prior corporate

        5    relationships and the fact that OneBeacon was always known

        6    to be the true holder of PGIC's liabilities, yes, as a

        7    matter of formality, corporate form, PGIC, while they were

        8    in the structure of OneBeacon Insurance Group, they also had

        9    a relationship, but once they are sold off as a clean shell

04:25PM 10   with Sparta's knowledge that the liabilities were being

       11    assumed, that prior -- that prior relationship, that prior

       12    understanding of the corporate structure informs what

       13    happened next, which is that, and we say appears here, your

       14    Honor, because we've been completely out of it.

       15             PGIC I don't think was ever really in it, but even

       16    assuming they were before 2012, for nine years, at least,

       17    OneBeacon Insurance Company has paid the claims as OneBeacon

       18    Insurance Company, later renamed Bedivere and later taken, I

       19    believe, out of the OneBeacon Insurance Group corporate

04:26PM 20   family, and there have been to our knowledge no

       21    communications between PGIC and Sparta from 2012 to 2021.

       22             For nine years, this has gone on.   Despite the

       23    fact that Sparta knew about the sale of PGIC as a clean

       24    shell, we haven't heard a peep from them until Bedivere went

       25    belly up, and this has caused great prejudice because this
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        1    issue could have been resolved, you know, eight years ago,

        2    then it could have been addressed with things like

        3    reinsurance agreements or whatever, but literally North

        4    American Casualty Company and PGIC, clean shell PGIC knew

        5    nothing about the stock purchase agreement.   It wasn't even

        6    disclosed to them, and there certainly was no attempt to

        7    enforce the agreement against them.

        8             So then, your Honor, you know, we get to the -- we

        9    get to the affirmative defenses, and in order to prevail on

04:27PM 10   a motion for judgment on the pleadings, even if they had

       11    actually done what they're supposed to do and actually

       12    addressed the substance of the affirmative defenses in their

       13    actual motion rather than reserving the arguments to apply,

       14    they simply can't establish the demanding standard of a

       15    motion for judgment on the pleadings, which requires that

       16    they not be able to show any facts that could possibly give

       17    rise to liability.

       18             So there are all sorts of defenses that we believe

       19    bar their claims, including novation.   Novation does not

04:28PM 20   have to be in writing.   Even when there's a no written

       21    modification clause, it doesn't have to be in writing.    It

       22    can be inferred from facts and circumstances, and those

       23    facts and circumstances can include the fact that PGIC was

       24    sold off as a clean shell leaving liability in the hands of

       25    the company that everyone always knew was the real
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        1    guarantor, the real repository of these liabilities in the

        2    first place, and that is reinforced by the absence of

        3    contact, reinforced by the fact that OneBeacon has always

        4    been the payor for these claims, and we believe also, your

        5    Honor, we talked about this briefly on the scheduling call,

        6    your Honor didn't schedule, didn't -- has not yet provided,

        7    and I understand why for expert discovery in the case, but

        8    we believe industry practice to.

        9             From the start, your Honor, this explains why from

04:29PM 10   the start plaintiffs have sort of obscured what this case is

       11    about because what they are trying to do, they try to

       12    portray it as a standard indemnification type of case, but

       13    it is not that.   It is, in fact, as near as we can tell,

       14    unprecedented in insurance law for one clean shell company

       15    to seek redress against another clean shell insurance

       16    company, and so it's simply far more complicated and

       17    involved than my friend has portrayed it and as they have

       18    portrayed it from the start.

       19             This is why in their initial complaint they

04:29PM 20   alleged that we had just been paying constantly.   We have

       21    been paying for the claims constantly up until 2021, and

       22    then there was this sudden abrupt face, and we told them

       23    that wasn't true, and it wasn't true, and so in their

       24    amended complaint, they obscured it by just using the

       25    passive voice as to who was paying the claims and not
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        1    identifying who was paying the claims.

        2             They know that it was important to establish an

        3    uninterrupted practice because this nine-year gap is a

        4    problem from them both because it provides support for the

        5    novation, it provides support for many of the other

        6    defenses, estoppel, unclean hands, and the like, but it also

        7    is a statutes of limitations problem for them, and it's also

        8    a latches problem, even if you assume the statute of

        9    limitations is inapplicable.

04:30PM 10            They don't address latches at all even in their

       11    reply, and in the statute of limitations section, they say,

       12    well, it couldn't be a statute of limitations problem

       13    because PGIC alleges that their first conversations were in

       14    2021, and so that's when the controversy started.   That

       15    isn't true.

       16             I mean, it is true, the first part is true, it is

       17    true that we say the only conversations were in 2021, but it

       18    isn't true that that doesn't mean they couldn't have known

       19    much sooner or didn't know a long time before that there was

04:31PM 20   a controversy because they knew that PGIC was being sold off

       21    as a clean shell to somebody else, and they never even

       22    bothered to contact them once during that entire period, and

       23    so we have every reason to think that we would have had no

       24    knowledge about this and that we would not have believed

       25    that we were liable under the way that this works, under the
                                                                         21




        1    entire background of this agreement, under their knowledge

        2    of the relationship between the corporate parties and the

        3    interpooling agreement and all of that.

        4             So I'll briefly address, your Honor, the issues of

        5    the interpretation of the contract apart from the

        6    affirmative defenses because I do disagree with my friend

        7    that there is no dispute there.

        8             They, I think, essentially boil down to the

        9    following, your Honor:

04:32PM 10            They have never complied.   Even if you assume that

       11    these contracts just apply, that none of the other stuff

       12    that I talked about that we allege or that even if you

       13    assume that it isn't there, just focus on the contracts,

       14    they have never -- they can't win under the indemnification

       15    provisions because the indemnification provision -- they

       16    haven't complied with the indemnification provisions, and

       17    they can't win under the duty to administer portion because

       18    they haven't established a duty to administer.

       19             Their initial complaint, or, actually, I'm sorry,

04:33PM 20   their amended complaint relied on a blatant miscommunication

       21    of the transfer and assumption agreement, and then they

       22    shifted gears without ever acknowledging it, and they just

       23    tried to say that this kind of agreement necessarily

       24    includes a duty to administer.

       25             But that certainly isn't something that can be
                                                                          22




        1    established on the face of the contract, particularly when

        2    the contract actually talks about a duty to administer with

        3    respect to certain claims and doesn't talk about it with

        4    respect to the other claims, but also as a matter of law,

        5    there are two different types of reinsurance.

        6             There's assumption reinsurance, and there's

        7    indemnification reinsurance.   And under indemnification

        8    reinsurance, there is no duty to administer, it's just a

        9    duty to indemnify.   And, again, they haven't complied with

04:34PM 10   the indemnification part of the stock purchase agreement,

       11    and they haven't established a duty to administer.

       12             Then finally, your Honor, there is the

       13    justiciability part.   We still have, under the scheduling

       14    order established by the Court, we'll still file a reply to

       15    the opposition to the motion -- to the opposition to our

       16    motion for partial judgment that was filed today.

       17             The gist of our friend's response was essentially

       18    that there's nothing new here, nothing new to see here, this

       19    is what your Honor already addressed in the original motion.

04:34PM 20   We respectfully disagree with that.

       21             What is new is the fact that we have been able to

       22    attach communications that they sent to us that reflect the

       23    absence of compliance with the indemnification provisions,

       24    and we have -- we also today -- oh, and the -- well, we also

       25    pointed out that their motion is seeking through or they are
                                                                           23




        1    now seeking through the back door to try to allege new facts

        2    about the claims, and, in addition, the purpose of our

        3    notice today I think was not -- didn't have to do with the

        4    statute of limitations.    What it had to do with is the fact

        5    that if your Honor will look at the RFAs that are being

        6    submitted, they demonstrate that it is not true that the

        7    plaintiffs are seeking some simple declaratory judgment.

        8               There are admissions in there to ask us to admit

        9    to liability for or to admit to contract coverage for

04:36PM 10   thousands of claims, underlying claims, and the Declaratory

       11    Judgment Act is not supposed to be used for that sort of

       12    thing.    It's not supposed to be used as a circumvention for

       13    a breach of contract claim.

       14               And this reinforces what we've said from the

       15    start, that for this to be a ripe dispute, they need to be,

       16    at least on the indemnification provisions, they need to put

       17    at issue, they need to put it in the context of particular

       18    claims because that is how indemnification is sought in

       19    insurance, in insurance actions.

04:36PM 20              So, your Honor, I think with that, unless the

       21    Court has further questions, I think those are our basic

       22    points.

       23               THE COURT:   Mr. Carroll, a quick response.

       24               MR. CARROLL:   Yes, thank you very much, your

       25    Honor.    Let me start where Mr. Kaplan left off.   It doesn't
                                                                          24




        1    matter if it's indemnity insurance or re-assumption

        2    insurance.   PGIC has categorically denied an obligation to

        3    pay anything under any circumstances.

        4              We believe the contracts clearly require them to

        5    do it.   This is a ripe dispute.   We have paid millions and

        6    millions of dollars.   They have paid nothing, and they have

        7    taken the position that they will pay nothing, which will

        8    continue until your Honor clarifies the parties' agreements

        9    under the contract.

04:37PM 10             Counsel said, look, everyone knew PGIC's not in

       11    it, was never intended to be in it from the beginning, and

       12    OneBeacon was the real party in interest.

       13              Respectfully, I'm unaware of any legal doctrine

       14    that allows you to simply categorize someone as not the real

       15    party in interest when it's a legal entity that is agreed to

       16    be bound by a contract and the contract provides Sparta with

       17    the right to enforce the promises under the contract as

       18    against OneBeacon certainly but also and separately as

       19    against PGIC.   That's what we're trying to do in this case.

04:38PM 20             You can't rewrite the contract to say, well,

       21    PGIC's not in it because we have decided it's not the real

       22    party in interest.    By the way, that's nowhere in the

       23    contract, and, therefore, you're out from under all the

       24    obligations that PGIC undertook.   It's just not a contract

       25    document -- a doctrine.
                                                                        25




        1             Similarly, some of these affirmative defenses,

        2    I'll give you just an example.   This is one of the ones that

        3    was emphasized.   Asserted as an affirmative defense is the

        4    following:    This is Number 22, plaintiff's claims and

        5    requested declaratory relief are otherwise barred in whole

        6    or part by the transfer and assumption agreement between

        7    PGIC and OneBeacon and stock purchase agreement between

        8    OneBeacon and North American Casualty, which complies with

        9    all applicable statutes and regulations and are approved by

04:39PM 10   governmental authorities, essentially saying that Sparta's

       11    rights and obligations somehow get wiped out by some other

       12    contract to which they're not a party and approved by

       13    regulators.

       14             Well, I heard counsel say they didn't even know

       15    about the stock purchase agreement, so presumably they

       16    didn't provide that to any regulators when they were

       17    approving it.   There's no contract doctrine that says if A

       18    has a contract with B, B then can go into a contract with C

       19    and wipe out A's rights.   It's just not an affirmative

04:39PM 20   defense to a contract action.

       21             The suggestion that there's statute of limitations

       22    I touched on, this dispute only ripened in 2021, Sparta has

       23    moved promptly.   Latches in terms of sleeping on our rights,

       24    similarly, there's no latches, there's no conceivable

       25    latches argument where we've been being paid until 2021.
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        1    There was no dispute between the parties.     No one sat on any

        2    rights.   We were being fully paid.

        3              If we tried to bring an action any earlier than

        4    that, we were told it's not judicable because you don't have

        5    any damages, you have no claim to complain about, and that

        6    would have been right.    It's simply not enough to say, well,

        7    I've got a bunch of affirmative defenses and discovery might

        8    give me some grounds to get out.

        9              The affirmative defenses have to be legally

04:40PM 10   cognizable defenses to a contract action not foreclosed by

       11    the terms of the contract itself.

       12              THE COURT:    Okay.   Mr. Kaplan, any response to

       13    that?

       14              MR. KAPLAN:    Yeah, it really didn't address any of

       15    the points.   Just in case there's any need for

       16    clarification, the real -- as I said, the real party in

       17    interest point isn't really about if they had decided say

       18    in, you know, 2008 to try to enforce the agreement against

       19    PGIC and PGIC said no, we're out, you know, it's not about

04:41PM 20   that, it's about what the combination of what everybody

       21    understood to be the case combines with the fact that it was

       22    then subsequently sold off as a clean shell combined with

       23    the fact that they always sought redress only against

       24    OneBeacon and combined with the fact that they never

       25    contacted PGIC for nine years.
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        1             Those are -- it is the combination of those facts

        2    that is so significant here, and, again, it's completely

        3    unprecedented for them to do what they're trying to do, the

        4    statute of limitations.

        5             And plainly, your Honor, again, I just emphasize

        6    the procedural posture here.   This is a company that didn't

        7    even have knowledge of the contract under which it's being

        8    sued, and this is a 12(c).   We haven't -- the pleadings

        9    don't even or the complaint doesn't even accurately

04:42PM 10   represent all of the relationships, and, you know, not to

       11    mention the fact that the small number of arguments that

       12    they've actually made about the substance of the affirmative

       13    defenses all come under reply when they knew what our

       14    affirmative defenses were.

       15             And while we, of course, agree with Mr. Carroll

       16    that defenses have to be legally cognizable, there is no --

       17    Twombly, you know, first of all, we feel like we have pled

       18    sufficient facts in the affirmative defenses to make all of

       19    these points that I've made here today but also the same

04:42PM 20   level of plausibility type analysis doesn't apply to

       21    affirmative defenses.

       22             I will note, your Honor, that that -- what I just

       23    said is not entirely (indiscernible).   I think there are

       24    District Courts that agree with it, but there is a case by

       25    Judge Gorton in D. Mass, the Hansen case, which is
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        1    287 F.R.D. 119 that concludes that the pleading standard for

        2    affirmative defenses is far less for obvious reasons, the

        3    fact that the plaintiff has the ability to spend all this

        4    time putting together their complaint, and they are in the

        5    possession of the facts here.

        6             They're the ones who even told us -- there, again,

        7    they are the ones that told us about the existence of this

        8    contract in the first place, and so there's all sorts of

        9    reasons why it would be grossly unfair to deny us discovery

04:43PM 10   given the facts that we've pled.

       11             The one case that they cite that denies that, just

       12    one case in the contract setting.     It's a case where the

       13    contract was just unambiguous and the arguments that were

       14    being made could be readily resolved by the contract.     That

       15    just isn't the case here.

       16             THE COURT:     All right.   Your cross motion, I think

       17    you indicated you wanted to file a sur-reply, but I think it

       18    may make sense to talk about that as well, and I will permit

       19    you to file that sur-reply, so, Mr. Kaplan, do you want to

04:44PM 20   take that up?

       21             MR. KAPLAN:    I'm sorry, your Honor, is the

       22    question whether -- the cross motion, the reply is still --

       23    still has yet to be filed because we just got their

       24    opposition today, so we can do within the schedule provided

       25    by the Court's rules.
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        1                THE COURT:    I guess my point is, although it's not

        2    completely ripe, the opposition having been filed today, I

        3    thought it might be useful to have some argument on it today

        4    to be followed by filing of a reply and sur-reply.      I

        5    misspoke.

        6                MR. KAPLAN:   I fully understand now.

        7                THE COURT:    Recognizing it's not fully briefed,

        8    but I think it would be useful to do this once rather than

        9    twice.

04:45PM 10               MR. KAPLAN:   No, understood.   Yeah, I don't

       11    have -- I addressed it briefly in my prior presentation, and

       12    I don't know that I have a whole lot to add, but I would say

       13    that, again, you know, plaintiffs -- their primary point is

       14    that there's nothing new to see here.

       15                We think we've established that there is no duty

       16    to administer, and, regardless, the primary point is that

       17    there's a procedure that they are supposed to follow to seek

       18    indemnification, and they haven't done that, and their

       19    notion that they are just seeking some, you know,

04:46PM 20   broad-ranging declaratory relief even so should be resolved

       21    in the context of a concrete set of facts because that's the

       22    way it is typically done, and it can easily be resolved in

       23    the context of such claims where they've actually complied

       24    with the terms of the indemnification provision.

       25                And, finally, their discovery requests that we
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        1    submitted today, if your Honor looks at them, you'll see

        2    that it belies the notion that that's really what they're

        3    trying to do here, that all trying to do is this declaratory

        4    relief type thing.   They're trying to get in through the

        5    back door a bunch of claims or a bunch of discovery about

        6    actual claims, which is contradictory to what they say, to

        7    what they say they're trying to do.

        8             And then, finally, there's the fact that, and your

        9    Honor did sort of address what I'm about to say in your

04:47PM 10   original order on the motion to dismiss, but we pointed out

       11    that at least as far as the indemnification relief that they

       12    seek, the Count One, it truly is framed as an obey the law

       13    or obey your contract injunction.

       14             It just contracts the contractual language and

       15    would not advance the ball, and so they seem to be trying to

       16    have it both ways, to seek this sort of general, general

       17    declaratory relief or obey your contract relief, which

       18    doesn't advance the ball, and then through the back door,

       19    they seek to be trying to get all this substantive discovery

04:48PM 20   as to the underlying claims, and so we think that that just

       21    reinforces the idea that at least as to the motion for

       22    judgment on the pleadings, at least for the indemnification

       23    claim, which is all we're seeking affirmative relief on at

       24    this moment, that that should -- that that claim isn't ripe,

       25    and it needs to be done in compliance with the contractual
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        1    procedures and a concrete set of facts.

        2              THE COURT:    All right.   Mr. Carroll.

        3              MR. CARROLL:    Thank you, your Honor.    Just a few

        4    points.   First, the record is clear, and there can't be no

        5    dispute that Sparta has made millions of dollars.      The

        6    record is clear that there can be no dispute that PGIC takes

        7    the position that it has no legal obligations to Sparta

        8    under these contracts.    That is the legal issue we need to

        9    have resolved.

04:48PM 10             It's not at this juncture about this particular

       11    claim or that one.     They take the position they are

       12    responsible for none of them.    We need that resolution to

       13    come to the court seeking that, please.

       14              With respect to the last point that we're

       15    proceeding with discovery, that's consistent with what your

       16    Honor instructed when we had the scheduling conference.      We

       17    asked that this hearing be set, and you accommodated us, and

       18    we're grateful for that, but the rest of the case isn't

       19    stayed, and we're proceeding in parallel, not because we

04:49PM 20   think we should have to but because that's what the schedule

       21    permits, and we don't want any delay.

       22              There's no inconsistency with that, and so we

       23    respectfully submit the issue is a legal one, it's framed

       24    appropriately, and the contract itself precludes what are

       25    being purported as affirmative defenses, which have been
                                                                           32




        1    foreclosed by the very detailed agreement that the parties

        2    agreed upon, and thank you, your Honor, for your time.

        3               MR. KAPLAN:   May I make one point, your Honor, for

        4    clarification?

        5               THE COURT:    Yes.

        6               MR. KAPLAN:   In case I was unclear, the problem

        7    isn't that they're proceeding with discovery in the

        8    abstract, we certainly agree, and, in fact, that's what we

        9    want to do is just get to discovery, and we view this motion

04:50PM 10   as not -- it lacks merit, and that's where we should be

       11    focused.

       12               The problem is that if you look at, let's see, it

       13    is 12 through 19 or 22 maybe of the RFAs that they

       14    submitted, they are seeking discovery about specific claims,

       15    asking us to admit liability for certain claims using this

       16    supposed simple declaratory judgment face of the contract

       17    type dispute as a stalking horse for massive discovery about

       18    individual claims, and if that is what this is, it

       19    cannot -- there is authority to say that a declaratory

04:51PM 20   judgment action cannot be used for that purpose properly,

       21    and so that's what we're doing.

       22               And they should comply with the contractual

       23    indemnification procedures and bring an action that roots it

       24    in the facts of particular claims.    So the point again, your

       25    Honor, some of these requests are not objectionable, at
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        1    least on the ground that I just was talking about.     The

        2    problem isn't that they're proceeding with discovery, it's

        3    particular requests that call into question the bona fides

        4    of this supposedly being a simple declaratory judgment

        5    action.

        6              THE COURT:    All right.   I'm going to take these

        7    motions under advisement.    Let us -- I'll give a week for a

        8    reply memorandum, that is, to the PGIC's reply to the Sparta

        9    opposition, so that will take us to November the 9th and

04:52PM 10   then another week for any sur-reply to November the 16th, at

       11    which point I will be back in the country and in a position

       12    to read that, read those.

       13              MR. KAPLAN:    Sorry, your Honor, just for

       14    clarification, is the November 9th for us to file?

       15              THE COURT:    Yes, your reply and then if

       16    Mr. Carroll wants to do a sur-reply would be another week

       17    later.

       18              MR. KAPLAN:    Okay.

       19              MR. CARROLL:    Thank you, your Honor.

04:52PM 20             MR. KAPLAN:    We would also presumably file our

       21    reply to their opposition to our partial motion on that same

       22    day?

       23              THE COURT:    Well, hold on.   Let me make sure I

       24    have this straight.     Your motion for judgment on the

       25    pleadings, which is Number 64 on the docket, Mr. Carroll
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        1    filed his opposition today.      I'm going to let you reply to

        2    that and you have a week until November 9th.

        3             MR. KAPLAN:     Yes.

        4             THE COURT:    Mr. Carroll has a week after that for

        5    any sur-reply until the 16th.     I thought that the other

        6    motion, the original motion from Sparta was fully briefed.

        7    Am I wrong about that?

        8             MR. KAPLAN:     Yes, it is, in the sense this was the

        9    point, we sought leave to file a sur-reply, and this is the

04:53PM 10   point I made at the beginning, your Honor.      This is single

       11    to the extent that they have any arguments against the

       12    substantive defenses, they only made them on reply, so we've

       13    had no chance to reply to them.     And, again we think they

       14    lacked merit.   I tried to show that.

       15             THE COURT:    If you want to file a sur-reply, you

       16    may do so by the 9th as well.

       17             MR. KAPLAN:     Okay.   Thank you, your Honor.

       18             THE COURT:    All right.    Thank you, gentlemen, I

       19    will take this under advisement.     Thank you.

04:54PM 20            MR. CARROLL:    Thank you very much.

       21             (Whereupon, the hearing was adjourned at 4:53 p.m.)

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 1                        C E R T I F I C A T E

 2

 3   UNITED STATES DISTRICT COURT )

 4   DISTRICT OF MASSACHUSETTS ) ss.

 5   CITY OF BOSTON )

 6

 7             I do hereby certify that the foregoing transcript,

 8   Pages 1 through 35 inclusive, was recorded by me

 9   stenographically at the time and place aforesaid in Civil

10   Action No. 21-11205-FDS, SPARTA INSURANCE COMPANY

11   (As successor in interest to Sparta Insurance

12   Holdings, Inc.) vs. PENNSYLVANIA GENERAL INSURANCE

13   COMPANY (now known as Pennsylvania Insurance Company), and

14   thereafter by me reduced to typewriting and is a true and

15   accurate record of the proceedings.

16             Dated November 6, 2022.

17

18                           s/s Valerie A. O'Hara

19                           _________________________

20                            VALERIE A. O'HARA

21                            OFFICIAL COURT REPORTER

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